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 7
                                 UNITED STATES DISTRICT COURT
 8
                               EASTERN DISTRICT OF CALIFORNIA
 9
                                           FRESNO DIVISION
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12   GERALD CARLIN, JOHN RAHM, PAUL                  Case No. 1:09 CV 00430-AWI-EPG
     ROZWADOWSKI and DIANA WOLFE,
13   individually and on behalf of themselves
     and all others similarly situated,              STIPULATION AND ORDER REGARDING
14                                                   DISCOVERY DEADLINES
                       Plaintiffs,
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     v.
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     DAIRYAMERICA, INC. and
17   CALIFORNIA DAIRIES, INC.,

18                     Defendants.

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 1          WHEREAS, on September 29, 2017 the Court entered an Amended Scheduling Order

 2   (Doc. No. 494), which set a January 8, 2018 deadline for the filing of motions to compel and

 3   objections to proposed deponents, a January 12, 2018 deadline for the filing of responses to

 4   motions to compel and to objections to proposed deponents, and a hearing on motions to compel

 5   on January 18, 2018 at 2:00 p.m.

 6          WHEREAS, the parties are in the process of meeting and conferring regarding

 7   outstanding discovery disputes, and hope to resolve those discovery disputes without filing

 8   motions to compel, and the parties believe that extending the current deadlines by approximately

 9   one week would facilitate those ongoing meet and confers and substantially increase the

10   likelihood of resolving outstanding discovery disputes without filing motions to compel.

11          WHEREAS, the parties have agreed to limit the scope of any motions to compel to issues

12   that have already been raised between the parties to date.

13          WHEREAS, the parties request the extension in the interest of judicial economy and in an

14   attempt to resolve discovery disputes between the parties without filing motions to compel, and

15   not for the purposes of undue delay.

16          IT IS STIPULATED, subject to Court approval, that (a) the deadline for the filing of

17   motions to compel and objections to proposed deponents is extended to January 16, 2018, (b) the

18   deadline for the filing of responses to motions to compel and objections to proposed deponents to
19   is extended to January 22, 2018, and (c) the hearing on motions to compel and objections to

20   proposed deponents is set for either January 26, 2018 at 10:00 a.m. or a later date and time that is

21   convenient for the Court.

22   DATED: January 9, 2018                               Respectfully submitted,

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         Jan. 8, 2018)                                        A. Chowning Poppler
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 1                                              ORDER

 2          Pursuant to the parties’ stipulation, the deadline for the filing of motions to compel and

 3   objections to proposed deponents is extended to January 16, 2018, the deadline for the filing of

 4   responses to motions to compel and objections to proposed deponents to is extended to January

 5   22, 2018, and the hearing on motions to compel and objections to proposed deponents (currently

 6   set for January 18, 2018) is continued to January 26, 2018 at 10:00 a.m. in Courtroom 10 (EPG)

 7   before Magistrate Judge Erica P. Grosjean. The Court grants telephonic appearances, with each

 8   party wishing to so appear directed to use the following dial-in number and passcode: 1-888-251-

 9   2909; passcode 1024453.

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     IT IS SO ORDERED.
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12      Dated:    January 9, 2018                            /s/
                                                     UNITED STATES MAGISTRATE JUDGE
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